            Case 17-01171-RAM   Doc 111   Filed 12/11/17   Page 1 of 5




     ORDERED in the Southern District of Florida on December 11, 2017.




                                                  Robert A. Mark, Judge
                                                  United States Bankruptcy Court
_____________________________________________________________________________


                    UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF FLORIDA
  _____________________________
                                )
  In re                         )    CASE NO. 16-26187-RAM
                                )    CHAPTER 11
  SIXTY SIXTY CONDOMINIUM      )
  ASSOCIATION, INC.,           )
                                )
                 Debtor.        )
                               )
                                )
  SIXTY SIXTY CONDOMINIUM      )
  ASSOCIATION, INC.,           )
                                )
                 Plaintiff,     )
                                )
  vs.                           )    ADV. NO. 17-01171-RAM
                               )
  SCHECHER GROUP, INC., d/b/a )
  SG SHARED COMPONENTS,        )
                                )
                 Defendant.     )
                               )

                  ORDER (1) DENYING MOTION TO ABSTAIN;
           (2) CLARIFYING SCOPE OF PROCEEDING; (3) RESERVING
   RULING ON MOTION TO RESET TRIAL; AND (4) SETTING FILING DEADLINE
           Case 17-01171-RAM   Doc 111   Filed 12/11/17   Page 2 of 5




       The Court conducted a hearing on December 8, 2017, on the

Corrected Renewed Motion Requesting Order Setting Trial Date and

Deadlines (the “Motion to Reset Trial”) [DE# 108] and on Defendant,

Schecher Group, Inc.’s (I) Response and Opposition to Motion

Requesting Renewed Order Setting Trial Date and Deadlines; and

(II)   Motion   for   Mandatory   and/or    Permissive      Abstention   with

Respect to the Shared Cost Adversary (the “Motion to Abstain”)

[DE# 105].

       As the Court noted at the hearing, this adversary proceeding

will only determine the Debtor’s prepetition debt to the Defendant,

the Schecher Group, Inc. (the “Schecher Group”) as it may be

affected by the Debtor’s prepetition claims against the Schecher

Group. Non-debtor individual unit owners were allowed to intervene

“solely for the limited purpose of litigating the Baseline amount

of shared costs due to the Defendant.”          Order Granting Motion to

Intervene with Limitations (the “Intervention Order”) [DE# 42].

As stated further in the Intervention Order, “[t]he Court will not

be determining any issues in the state court foreclosure cases

against the Intervenors other than the Baseline amount.”

       Because this proceeding will not determine each unit owner’s

liability to the Schecher Group, the Schecher Group’s Motion for


                                    2
           Case 17-01171-RAM       Doc 111      Filed 12/11/17   Page 3 of 5




Abstention will be denied as moot with respect to abstaining from

resolving the Schecher Group’s state law claims against non-

Debtors.    To the extent the Motion for Abstention relates to the

Debtor’s obligations to the Schecher Group, it will also be denied

because    the   Court   clearly     has       jurisdiction      to    determine    the

Schecher Group’s claim and to determine the Schecher Group’s

prepetition indebtedness to the Debtor, and there is no cause to

abstain from exercising that jurisdiction.

       With respect to moving forward with the proceeding, the Court

reiterates its general views expressed at the December 8th hearing.

Consistent with the expedited deadlines in the Court’s Amended

Scheduling Order for Certain Pretrial Deadlines [DE# 62], the Court

will   again     set   expedited    deadlines         now   that      this     adversary

proceeding is going forward.           This does not mean that the Court

will impose impractical, prejudicial deadlines for completing

discovery and getting to trial just because the state court has

set a continued trial on February 20, 2018 in 31 foreclosure cases

against individual non-Debtor unit owners.

       At the conclusion of the December 8, 2017 hearing, the Court

announced that it would likely set a deadline shortly after the

expiration of KFI’s due diligence period for the parties to file

summary judgment motions and will likely schedule a hearing on the


                                           3
          Case 17-01171-RAM   Doc 111   Filed 12/11/17    Page 4 of 5




summary judgment motions on or about February 9, 2018.                  The Court

also announced that it would allow document discovery to proceed

now, on shortened notice, and may allow some depositions to be

scheduled this month or in early January if the testimony is

critical to frame the arguments in any of the contemplated summary

judgment motions.

     Based upon the foregoing, and the Court’s additional comments

at the December 8, 2017 hearing, it is –

     ORDERED as follows:

     1.   The Schecher Group’s Motion for Abstention is denied.

     2.   The Court reserves ruling on the Motion to Reset Trial.

     3.   The   parties   may   serve    requests        for   production      of

documents and the time for responding to document requests is

shortened to 14 days from service of the discovery.

     4.   Pending further Order or agreement, neither party may

notice depositions.

     5.   By December 18, 2017, the Debtor and the Schecher Group

shall file Discovery Reports that include the following:

          A.    A description of all remaining discovery, including

depositions, that each side believes is necessary to prepare the

case for trial; and




                                   4
           Case 17-01171-RAM   Doc 111   Filed 12/11/17   Page 5 of 5




             B.   A description of discovery, including deposition

discovery, necessary to prepare summary judgment motions on legal

issues that will affect the Shared Cost determination, together

with specific reference to each legal issue that the party believes

will require further discovery to present or oppose the summary

judgment motion.

                                   ###

COPIES TO:


Brett   D. Lieberman, Esq.
Barry   P. Gruher, Esq.
David   Marshall Brown, Esq.
Inger   Garcia, Esq.




                                    5
